Case 2:21-cv-00562-HCN-CMR Document 78 Filed 04/03/23 PageID.861 Page 1 of 3




 RICHARD A. VAN WAGONER (4690)
 SCOTT YOUNG (10695)
 SNOW CHRISTENSEN & MARTINEAU
 10 Exchange Place, 11th Floor
 Salt Lake City, Utah 84111
 Telephone: (801) 521-9000
 Attorneys for Defendants
 rav@scmlaw.com
 rsy@scmlaw.com


                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH – CENTRAL DIVISION


  S. STEVEN MAESE,                                     DEFENDANTS’ MEMORANDUM IN
                                                        OPPOSITION TO PLAINTIFF’S
                        Plaintiff,                        MOTION FOR SUMMARY
                                                               JUDGMENT
         vs.
                                                                 Case No. 2:21CV562
  SOUTH JORDAN CITY, OFFICER JOHNNY
  SERRANO, OFFICER ANDREW                                      Judge Cecilia M. Romero
  THOMPSON, AND OFFICER DOES 1-10,

                        Defendants.


        Defendants South Jordan City, Officer Johnny Serrano, and Officer Andrew Thompson

 (“Defendants”) hereby incorporate the evidence and argument submitted in their Motion for

 Summary Judgment (Dkt. # 54) and Reply Memorandum in Support of their Motion for Summary

 Judgment (Dkt. # 75) in opposition to Plaintiff’s Motion for Summary Judgment. Defendants have

 moved to strike Plaintiff’s summary judgment motion because it was filed two months late, and

 they have also moved for a stay of filing this opposition memorandum. To date, the Court has not

 ruled on these motions. If the Court denies Defendants’ motion to strike, Defendants request
Case 2:21-cv-00562-HCN-CMR Document 78 Filed 04/03/23 PageID.862 Page 2 of 3




 fourteen (14) days to file an additional memorandum in opposition to Plaintiffs’ motion for

 summary judgment.

       DATED this 3rd day of April, 2023.

                                            SNOW CHRISTENSEN & MARTINEAU

                                             /s/ Scott Young
                                            Richard A. Van Wagoner
                                            Scott Young
                                            Attorneys for Defendants




                                              -2-
Case 2:21-cv-00562-HCN-CMR Document 78 Filed 04/03/23 PageID.863 Page 3 of 3




                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 3rd day of April, 2023, I served a true and correct copy

 of DEFENDANTS’ MOTION TO STAY via Email to the following:

             Francis Chiaramonte
             336 w. Broadway Rd. #410
             Salt Lake City, UT 84101
             Attorney for Plaintiff


                                          /s/ Aliza Murad




                                           -3-
